           Case 1:18-cv-02185-LJL Document 331 Filed 04/05/21 Page 1 of 7




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X                 4/5/2021
                                                                       :
EASTERN PROFIT CORPORATION LIMITED,                                    :
                                                                       :
                                    Plaintiff,                         :
                                                                       :    18-cv-2185 (LJL)
                  -v-                                                  :
                                                                       :   OPINION & ORDER
STRATEGIC VISION US LLC,                                               :
                                                                       :
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- X

LEWIS J. LIMAN, United States District Judge:

        Defendant-Counterclaimant Strategic Vision US LLC (“Strategic”) moves to supplement

its witness list to add Bob Fu (“Fu”) as a witness at trial. Dkt. No. 325. Strategic’s witness list

was due and was filed on October 30, 2020. Fu was not on the witness list. The issue of adding

Fu to the witness list was first raised with the Court by a joint letter of March 29, 2021 that

obliquely stated that the parties were requesting a pretrial conference “at the earliest possible

date, including to resolve, among other items, an objection by Eastern Profit to an out-of-state

witness designated on Strategic Vision’s January 29, 2021 amended witness list.” Dkt. No. 323.

The Court held a conference on March 31, 2021 and invited a letter submission by Strategic on

April 1, 2021 and a response by Eastern on April 2, 2021. Dkt. Nos. 325, 326. It turns out that

the issue is not that the witness is from outside New York (many witnesses will be from outside

New York), but that the witness was not included in the witness list in the joint pretrial order.

The Court denies the motion to supplement the witness list.

                                               BACKGROUND

        Trial is scheduled to go forward in open court on April 19, 2021. It has been rescheduled

several times due to the COVID-19 pandemic, to accommodate the health concerns of Strategic
          Case 1:18-cv-02185-LJL Document 331 Filed 04/05/21 Page 2 of 7




and its counsel, and also in response to Strategic’s demand that the trial proceed in-person rather

than remotely.

        On March 2, 2020, the Court scheduled a ready trial date for October 13, 2020. Dkt. No.

259. On September 4, 2020, the Court issued an order, informing the parties that it had secured a

civil jury for an in-person trial to begin on November 2, 2020. Dkt. No. 287. Strategic requested

a conference to discuss the trial, in particular, its request to delay the jury trial because of the

need for its out-of-state counsel and certain witnesses to quarantine for fourteen days before trial.

Dkt. No. 289. The Court scheduled a conference for September 29, 2020. At that conference,

and at Strategic’s request, the Court scheduled a conference for the following Monday, October

5, 2020, at which time the states in which Strategic’s counsel and witnesses resided might be

removed from New York’s restricted state list.

        At the October 5, 2020 status conference, Strategic informed the Court that the state in

which one of its witnesses resided was no longer on New York’s restricted state list, but the

states in which its counsel and certain other witnesses resided were still on the list. Both parties

also consented to a bench trial. The Court stated it would keep the trial date of November 2,

2020, which could proceed in-person or remotely. Eastern was ready to proceed with either, but

Strategic requested that the trial be held in-person. At the same time, Strategic asked for the

in-person bench trial to be adjourned because of the need for travel and quarantine. The Court

asked the parties to brief whether the bench trial should proceed in-person and be adjourned, or

proceed remotely and held sooner.

        On October 13, 2020, the Court adjourned the trial to January 11, 2021, holding that “the

short delay Strategic proposes will not prejudice Eastern in a case where the only relief sought is

monetary.” Dkt. No. 296. The Court then adjourned the trial to January 19, 2021 pursuant to




                                                   2
         Case 1:18-cv-02185-LJL Document 331 Filed 04/05/21 Page 3 of 7




Standing Order M-10-468 that suspended in-person operations through January 15, 2021. Dkt.

No. 308. On December 18, 2020, the Court asked the parties to file letters by December 23,

2020, indicating their positions on proceeding with a remote bench trial in the event the Standing

Order was extended past January 15, 2021. Dkt. No. 309. Strategic again resisted proceeding

remotely, while also “urging the Court to simply reschedule” the in-person bench trial “until the

next available 4-day setting.” Dkt. No. 311 at 3.

       On January 6, 2021, the Southern District of New York issued a Standing Order

adjourning jury trials through February 12, 2021 and providing that “[b]ench trials and hearings

with witnesses (Civil or criminal) should be conducted remotely if at all possible.” No.

20-mc-622 (Jan. 6, 2021), Dkt. No. 3. On the same day, the Court held a status conference to

discuss the possibility of proceeding with a remote bench trial and asked the parties to submit

letters with authority that supported their positions. Eastern consented to a remote trial. Dkt.

No. 314. Strategic did not. Dkt. No. 315.

        On January 10, 2021, the Court denied the request for a remote trial, but required the

parties to be ready for trial in person on 48 hours’ notice after February 12, 2021. Dkt. No. 318.

On January 28, 2021, at the joint request of the parties, the Court set a firm date of April 19,

2021 for the in-person bench trial. Dkt. Nos. 320, 321.

                                          DISCUSSION

       Strategic’s motion to add Fu is denied for several reasons. First, based on Strategic’s

proffer, Fu’s testimony is irrelevant under Fed. R. Evid. 401 and, even if it had some probative

value, such probative value would be substantially outweighed by the dangers of unfair

prejudice, confusing the issues, undue delay, wasting time, and presenting cumulative evidence

under Fed. R. Evid. 403. Second, Strategic has offered no excuse for the late disclosure of Fu.

       As to the Rule 401 and 403 issues, Strategic argues in this case that it was not required to


                                                  3
         Case 1:18-cv-02185-LJL Document 331 Filed 04/05/21 Page 4 of 7




comply with a Research Agreement it entered into with Eastern in January 2018 for Strategic to

provide research that would expose corruption within and undermine the Chinese Communist

Party (“CCP”) because the agreement was procured by fraud. In essence, Strategic claims that it

was induced to enter into the agreement by false representations by Guo Wengui (referred to by

the parties as “Guo”), an agent of Eastern, that Guo was a longtime opponent of the CCP, Guo

desired to undermine, sow disruption and bring about the regime’s downfall, and Guo intended

to accomplish this through publicizing research about the regime’s corruption. Dkt. No. 325 at

1-2. Strategic asserts that in fact, Guo is not a true dissident and holds sympathy for the CCP

and its leadership, and it claims that it would never have entered into the agreement but for the

alleged misrepresentations about Guo’s sympathies. Eastern has consistently argued that the

factual predicate for Strategic’s claim is false: Guo is an opponent of the CCP.

       To supports its argument, Strategic intends to offer Guo’s own statements to show that he

had a favorable or at least productive continuing relationship with the CCP, as well as evidence

of Guo’s financial transactions, which Strategic claims supports an inference that Guo was a

proponent of the CCP at the time the Research Agreement was signed. Strategic also intends to

offer other criticisms Guo made of Chinese dissidents to show that Guo is not himself a

dissident. Guo is on Strategic’s witness list and is prepared to testify live or through his

deposition testimony if unavailable. See Dkt. Nos. 299-3, 322-1.

       Fu’s testimony has only the most attenuated relationship to Strategic’s claim and, to the

extent it has a relationship, it is cumulative. Fu and Guo are adversaries in a lawsuit in the

Western District of Texas. Each man accuses the other of being a double agent for the

CCP. Strategic proposes to offer Fu to show that Fu is himself an opponent of the CCP who

emigrated from China to escape religious persecution and who since has established a non-profit




                                                  4
          Case 1:18-cv-02185-LJL Document 331 Filed 04/05/21 Page 5 of 7




organization with a mission to “expose the systematic persecution, harassment, torture and

imprisonment of Chinese Christians and human rights lawyers in China.” Dkt. No. 325 at 3.

Strategic proposes to offer evidence that Guo issued a message on social media in September

2020 that threatened to start a campaign against Fu, despite Fu being an opponent of the

CCP. Id. Strategic claims that the events involving Fu began only in September and October

2020. Id.

       The question raised by Strategic’s claim in this case, however, concern Guo’s political

involvements in 2017—at the time the Research Agreement was negotiated and then executed in

2018. Guo’s political activities after that date would be relevant, if at all, only to the extent that

they showed that in 2017, when the parties negotiated the Research Agreement, he supported the

CCP. Strategic has not established the relevance of statements made by Guo in September and

October 2020 to Gou’s activities years earlier. Moreover, in order for the proposed testimony to

have the relevance Strategic imputes to it, Strategic would have to establish (1) Fu was an

opponent of the CCP; (2) Guo knew that Fu was an opponent of the CCP; and (3) Guo attacked

Fu because he was an opponent of the CCP. Each of those facts is hotly disputed; to permit the

testimony of Fu would result in a trial-within-a-trial that would be a complete sideshow to the

issues presented by this case.

       Finally, the testimony is cumulative. Guo is on Strategic’s witness list. See Dkt. Nos.

299-3, 322-1. Particularly because this is a bench trial where the Court can permit Strategic

some latitude, the Court will permit Strategic to cross-examine Guo about statements he has

made in an attempt to establish Guo’s political affiliations during the relevant time period in

2017 and 2018. For the same reason, the Court will permit Strategic to offer Guo’s statements

with respect to Fu—if it can establish a proper foundation for the admission of those




                                                   5
          Case 1:18-cv-02185-LJL Document 331 Filed 04/05/21 Page 6 of 7




statements. Strategic has not proffered that Fu has any knowledge of Guo’s political activities

even in 2020, much less in 2018 and before. It thus is unclear that Fu has anything of value to

offer in this case.

        Strategic also has not established any good cause for its failure to include Fu on the

witness list if it believed that his testimony was relevant and supported its case. It offers three

excuses. First, Strategic claims that it did not know of Fu’s relevance until Guo’s statements in

September 2020. Crediting the argument that Fu’s only relevance is with respect to conduct in

late 2020, that argument supports the Court’s Rule 401 and 403 determinations. More

importantly, as to the witness list, the witness list was due at the end of October 2020. See Dkt.

No. 299-3. Strategic’s exhibit list contains two exhibits (DX-98, DX-119) detailing adversarial

interactions between Guo and Fu. See Dkt. Nos. 299-7, 322-2. There is no reason, if Strategic

included those exhibits, it could not also have listed Fu as a witness and thus given Eastern fair

notice. Second, Strategic argues that it did not know as of October 2020 that Fu would be

willing to travel to New York and waited until it confirmed his willingness to travel to New York

to inform Eastern that he might be a witness. That does not excuse Strategic’s late

disclosure. The witness lists for both parties included actual and potential witnesses and was

intended to give each side and the Court notice of who might be called. Strategic listed another

person, William Je, as a witness “if he can be found.” Dkt. No. 299-3. There is no reason

Strategic could not have made a similar disclosure with respect to Fu. Third, Strategic argues

that it did not know it would need to call Fu as a witness until after the Court issued its ruling in

limine, precluding Strategic from relying on several news articles to prove Guo’s political

activities and affiliations in 2017. The Court excluded those articles as inadmissible hearsay in

an in limine ruling on December 18, 2010. See Dkt No. 310. The Court’s ruling should not have




                                                  6
         Case 1:18-cv-02185-LJL Document 331 Filed 04/05/21 Page 7 of 7




come as a surprise to Strategic; the articles plainly were hearsay as offered for the truth. The

ruling thus does not provide an excuse for Strategic’s failure to list Fu on a timely basis.

       Finally, permitting Fu to testify will be unfairly prejudicial to Eastern. Fu has neither

produced documents in this litigation nor been deposed and thus Eastern has no way to fairly and

effectively cross-examine him, including on his claim that he is a Chinese dissident. To require

Eastern to subpoena him now for documents and to take a pretrial deposition—with trial 19 days

away from the date of Strategic’s request and with trial having been adjourned ten times since

the first amendment of the case management plan in August 2018, see Dkt. Nos. 42, 60, 76, 86,

113, 259, 287, 296, 308, 318, 321—would be unfair both in terms of cost and in delay to Eastern.

       Strategic’s motion to supplement Fu as a witness is therefore DENIED. Dkt. No. 325.



       SO ORDERED.


Dated: April 5, 2021                                  __________________________________
       New York, New York                                        LEWIS J. LIMAN
                                                             United States District Judge




                                                  7
